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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                            UNITED STATES DISTRICT COURT                                January 18, 2024
                             SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

MUHARIB INVESTMENT GROUP,                        §
                                                 §
        Plaintiff,                               §
VS.                                              §   CIVIL ACTION NO. 4:23-CV-4609
                                                 §
KEVIN STARKS,                                    §
                                                 §
        Defendant.                               §
                                                 §

                                 MEMORANDUM & ORDER

       Before the Court is Plaintiff Muharib Investment Group’s Motion for Remand and Request

for Fees and Expenses (ECF No. 2). Plaintiff first initiated an eviction action against Defendant

Kevin Starks in state court. On the eve of trial, Defendant, proceeding pro se, filed a Notice of

Removal, claiming that this Court has federal question jurisdiction because “the face of

Defendants’ pleadings assert causes of action against Plaintiffs for alleged violations of both the

Due Process Clause of the 14th Amendment and the Takings Clause of the 5th Amendment to the

United States Constitution.” Def.’s Notice of Removal 3–4, ECF No. 1.

       Defendant’s jurisdictional arguments fail for two reasons. First, federal question

jurisdiction cannot be based on a counterclaim. Renegade Swish, L.L.C. v. Wright, 857 F.3d 692,

695–97 (5th Cir. 2017). Second, even if Defendant’s counterclaims could support federal question

jurisdiction, the constitutional provisions Defendant invokes are inapplicable in this suit, as

Plaintiff is a private party, not a state or governmental actor. See Simi Inv. Co. v. Harris Cnty.,

Tex., 236 F.3d 240, 248 (5th Cir. 2000); Douglass v. Nippon Yusen Kabushiki Kaisha, 46 F.4th

226, 236 (5th Cir. 2022), cert. denied sub nom. Douglass v. Kaisha, 143 S. Ct. 1021, 215 L. Ed.

2d 188 (2023).



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       As such, Court lacks subject matter jurisdiction under 28 U.S.C. § 1331. The Court

similarly lacks jurisdiction under 28 U.S.C. § 1332, as the parties are both citizens of Texas. See

ECF No. 1-1; Stiftung v. Plains Mktg., L.P., 603 F.3d 295, 297 (5th Cir. 2010) (explaining that

there is no diversity jurisdiction if plaintiff shares the same citizenship as defendant). Remand is

therefore proper.

       Where, as here, a district court remands an action that was improperly removed, 28 U.S.C.

§ 1447(c) provides that the court “may require payment of just costs and actual expenses, including

attorney fees” incurred as a result of removal. Courts in this circuit tend to award such costs and

fees only if the removal was objectively unreasonable. See Valdes v. Wal-Mart Stores, Inc., 199

F.3d 290, 292–93 (5th Cir. 2000). That is plainly the case here. Cf. Renegade Swish, 857 F.3d at

699–701 (holding that removal based only on allegations that a federal law counterclaim supported

federal question jurisdiction was objectively unreasonable). Plaintiff is therefore entitled to some

award of attorney fees and costs.

       Plaintiff requests $4,250.00 in attorney fees and costs incurred from Defendant’s improper

removal. In exercising their discretion over § 1447(c) fee awards, courts in sister circuits have

considered litigants’ pro se status, and have, in many cases, imposed fee awards that are far lower

than the actual expenses and costs incurred. See Ebert v. Herwick, 675 Fed. Appx. 863, 865–66

(10th Cir. 2017) (affirming district court’s award of $200, a sum less than actual expenses and

costs incurred by landlord in filing motion to remand, in light of tenants’ pro se status); In re

Marriage of King v. Ziegler, No. 04-4158-SAC, 2004 WL 3037968, at *2 n.1 (D. Kan. Dec. 16,

2004), aff’d in part, appeal dismissed in part sub nom. King v. Ziegler, 138 F. App’x 60 (10th Cir.

2005) (same); Topeka Hous. Auth. v. Johnson, 404 F.3d 1245, 1248 (10th Cir. 2005) (ordering pro

se litigant to pay $500 in expenses and costs, determining that amount was “less than the actual



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expenses and costs incurred . . . in challenging federal jurisdiction” but that it was “fair and

reasonable”); Ins. Co. of State of Pa. v. Waterfield, 371 F. Supp. 2d 146, 151 (D. Conn. 2005)

(explaining in its § 1447(c) analysis that “Defendant is pro se, and therefore he is to be granted

certain allowances”).

       Following the lead of sister circuits, the Court imposes an award of attorney fees and

expenses in the amount of $200. Such an award will serve the statutory goal of deterring improper

removal, while remaining fair and reasonable given Defendant’s pro se status.

       Accordingly, the Court GRANTS Plaintiff’s Motion to Remand (ECF No. 2) and

REMANDS the case to the County Court of Law No. 6, Fort Bend County, Texas, effective

January 17, 2024.

       The Court ORDERS Defendant to pay $200 to Plaintiff, pursuant to 28 U.S.C. § 1447(c).

       IT IS SO ORDERED.

       SIGNED at Houston, Texas, this the 17th day of January, 2024.




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                                                    KEITH P. ELLISON
                                                    UNITED STATES DISTRICT JUDGE




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